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  1    JOHN-PATRICK M. FRITZ (State Bar No. 245240)
       LEVENE, NEALE, BENDER,
  2    YOO & GOLUBCHIK L.L.P.                                      FILED & ENTERED
  3    2818 La Cienega Avenue
       Los Angeles, California 90034
  4    Telephone: (310) 229-1234                                         APR 01 2022
       Facsimile: (310) 229-1244
  5    Email: JPF@LNBYG .COM                                        CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
  6    Attorneys for Chapter 11
                                                                    BY evangeli DEPUTY CLERK


  7    Debtor and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )   Subchapter V
 13             Debtor and Debtor in Possession.       )
                                                       )   ORDER APPROVING AMENDED
                                                       )   STIPULATION TO EXTEND
 14                                                        DEADLINES AND SCHEDULING
                                                       )   REGARDING:
 15                                                    )
                                                       )
 16                                                    )   (I) DEBTOR’S MOTION FOR ORDER:
                                                       )   (I) AUTHORIZING USE OF CASH
 17                                                        COLLATERAL PURSUANT TO
                                                       )   SECTION 363 OF THE BANKRUPTCY
 18                                                    )   CODE; AND (II) APPROVING
                                                       )   ADEQUATE PROTECTION [ECF 101];
 19                                                    )   AND
                                                       )
 20                                                        (II) OBJECTION OF SIMON
                                                       )   PROPERTY GROUP AND
 21                                                    )   BROOKFIELD PROPERTIES RETAIL
                                                       )   TO DEBTOR’S SUBCHAPTER V
 22                                                    )   ELECTION OR, ALTERNATIVELY,
                                                       )   MOTION FOR APPOINTMENT OF AN
 23                                                        OFFICIAL COMMITTEE OF
                                                       )   UNSECURED CREDITORS [ECF 103]
                                                       )
 24
                                                       )   Hearing:
 25                                                    )   Date: April 6, 2022
                                                       )   Time: 10:00 a.m.
 26                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 27                                                    )          Los Angeles, CA 90012
                                                       )
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  1                                                        )
                                                           )   Hearing to be held in-person and by video-
  2                                                        )   conference Government Zoom, see Court’s
  3                                                        )   website under “Telephonic Instructions” for
                                                           )   more details:
  4                                                        )   https://www.cacb.uscourts.gov/judges/honor
                                                           )   able-sheri-bluebond
  5                                                        )
  6

  7          The Court, having read and considered that certain Stipulation to Extend Deadlines and
  8    Scheduling Regarding: (I) Motion for Order (I) Authorizing Use of Cash Collateral Pursuant to
  9    Section 363 of the Bankruptcy Code; and (II) Providing Adequate Protection [ECF 101], and
 10    (II) Objection of Simon Property Group and Brookfield Properties Retail to Debtor’s Subchapter
 11    V Election or, Alternatively, Motion for Appointment of an Official Committee of Unsecured
 12    Creditors [ECF 103] (the “Stipulation”) entered into, through counsel, by and between Escada
 13    America LLC, a Delaware limited liability company, (the “Debtor”), the debtor and debtor in
 14    possession in the above-captioned chapter 11, subchapter V bankruptcy case, on the one hand,
 15    and creditors Brookfield Properties Retail, Inc., Simon Property Group, Inc., and certain of their
 16    respective affiliates (collectively, the “Creditors”) and 717 GFC LLC (“GFC”), on the other
 17    hand, the record in this case, the docket in this case, and good cause appearing therefor,
 18           HEREBY ORDERS AS FOLLOWS:
 19           1.     The Stipulation is APPROVED.
 20           2.     The hearing on the Motion for Order (I) Authorizing Use of Cash Collateral
 21    Pursuant to Section 363 of the Bankruptcy Code; and (II) Providing Adequate Protection (the
 22    “Cash Collateral Motion”) [ECF 101], on April 6, 2022, at 10:00 a.m., will be an interim
 23    hearing, with a further hearing set for April 27, 2022, at 10:00 a.m. (the “Further Hearing”).
 24           3.     The Debtor’s deadline to file a reply in support of the Cash Collateral Motion is
 25    extended to the date that is 7 days prior to the Further Hearing.
 26           4.     The hearing on the Objection of Simon Property Group and Brookfield Properties
 27    Retail to Debtor’s Subchapter V Election or, Alternatively, Motion for Appointment of an
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  1     Official Committee of Unsecured Creditors (the “Election/Committee Motion”) [ECF 103], on

  2     April 6, 2022, at 10:00 a.m., is continued to and rescheduled concurrently with the Further

  3     Hearing.
  4            5.     The deadline for the Creditors and GFC to file a reply in support of the

  5     Election/Committee Motion is extended to the date that is 7 days prior to the Further Hearing.

  6            6.     At the status conference on April 6, 2022, the Debtor, Creditors, and GFC may
  7     jointly request that the status conference be continued concurrently with the Further Hearing.

  8            7.     At the status conference on April 6, 2022, the Debtor, Creditors, and GFC may
  9     jointly request that the Court extend the Debtor’s deadline to file a subchapter V plan under 11

 10     U.S.C. § 1189(b) from April 18, 2022, to May 2, 2022, without prejudice to further extension,

 11     and without prejudice to the relief sought by the Election/Committee Motion.

 12           SO ORDERED.
 13                                                        ###

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 24 Date: April 1, 2022

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  1    AGREED AS TO FORM:

  2    Dated: March 30, 2022                ESCADA AMERICA LLC
  3
                                     By: ___/s/ John-Patrick M. Fritz_____
  4                                        JOHN-PATRICK M. FRITZ
                                           LEVENE, NEALE, BENDER,
  5                                        YOO & GOLUBCHIK L.L.P.
                                           Attorneys for Chapter 11
  6
                                           Debtor and Debtor in Possession
  7

  8    Dated: March 30, 2022         BROOKFIELD PROPERTIES RETAIL, INC., SIMON
                                     PROPERTY GROUP, INC., AND CERTAIN OF THEIR
  9                                  RESPECTIVE AFFILIATES

 10
                                     By: ___                 _____
 11
                                           IVAN M. GOLD
 12                                  ALLEN MATKINS LECK GAMBLE MALLORY &
                                     NATSIS LLP
 13    .
                                     Attorneys for Brookfield Properties Retail, Inc., Simon
 14                                  Property Group, Inc., and Certain of their Respective
                                     Affiliates
 15

 16
       Dated: March 30, 2022         717 GFC LLC
 17

 18                                  By: ___                             _____
                                           JOHN C. CANNIZARO
 19                                        ALYSON M. FIEDLER
 20                                  ICE MILLER LLP
       .
 21                                  Attorneys for 717 GFC LLC

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